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12
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13
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                WESTERN DIVISION
15
     UNITED STATES OF AMERICA, )     Case No. 2:21-CR-00106-MCS
16                              )
              Plaintiff,        )    STIPULATION TO CONTINUE THE
17                              )    GOVERNMENT’S TIME TO RESPOND TO THE
                   v.           )    MOVANTS’ MOTION FOR RETURN OF
18                              )    PROPERTY
     U.S. PRIVATE VAULTS, INC., )
19     California Corporate     )
       Number C3405297,         )
20                              )
              Defendant.        )
21                            _)
22
23        Plaintiff United States of America (“the government”) and
24   the 33 movants set forth in the notice of motion and motion for
25   return of property (docket no. 64) hereby stipulate and agree
26   the government’s time to respond to the motion shall be
27   continued from October 22, 2021 to November 5, 2021.
28
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1         The Court’s standing order notes the Local Rules of Civil
2    Procedure govern the conduct of criminal proceedings unless
3    otherwise indicated.     See Local Rule of Criminal Procedure 57-1
4    and Standing Order page 17.      Pursuant to the Court’s order filed
5    August 27, 2021 granting the government’s ex parte application
6    (docket no. 69), the hearing on the movants’ motion was
7    continued to November 15, 2021.       In the government’s ex parte
8    application, the government noted that its response to the
9    motion, which the government noted must be treated as a civil
10   complaint, was due October 22, 2021.       Docket No. 66 at 3:8-14.
11   Under Local Rule of Civil Procedure 8-3, parties may extend the
12   period of time to respond to a complaint for less than thirty
13   days without a Court order where, as here, they have not sought
14   or obtained a prior extension to respond to the complaint.
15   Accordingly, the parties stipulate and agree the government may
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1    have a two week extension, from October 22, 2021 to November 5,
2    2021, to respond to the movants’ motion.
3                                      Respectfully submitted,
4    Dated: October 22, 2021           TRACY L. WILKISON
                                       Acting United States Attorney
5                                      SCOTT M. GARRINGER
                                       Assistant United States Attorney
6                                      Chief, Criminal Division
7
                                       _________/s/                   __
8                                      ANDREW BROWN
                                       VICTOR A. RODGERS
9                                      MAXWELL COLL
                                       Assistant United States Attorneys
10
                                       Attorneys for Plaintiff
11                                     UNITED STATES OF AMERICA
12
     Dated: October 22, 2021           LAW OFFICES OF BRIAN SILBER
13                                     THE LENTZ LAW FIRM, P.C.
14
                                                 /s/
15                                     BRIAN SILBER/JACEK W. LENTZ
16                                     Attorneys for Movants
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